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Neurontin FAQ - Findlaw for the Public - Page 1 of 2

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Wednesday, Mar. 28, 2007

Neurontin FAQ

Q: What is Neurontin?

A: Neurontin (gabapentin) is a prescription medicine used to help control some types of seizures in the
treatment of epilepsy. Neurontin cannot cure epilepsy, and will only work to control seizures for as
long as you continue to take it, Neurontin is also used to manage a condition called postherpetic
neuralpia (PHN) (pain after "shingles"). Neurontin is manufactured by Pfizer Pharmaceuticals, and was
first approved by the U.S. Food and Drug Administration (FDA) in 1993, to contro) seizures in

epileptic patients.

Q: Has there been any recent news about Neurontin?

A: According to a recent USA Today report, an estimated 300 lawsuits have been filed to date,
alleging that Neurontin causes suicide or suicide attempt. Plaintiffs allege that Neurontin-maker Pfizer
Pharmaceuticals failed 10 disclose the risk of suicide, and are advocating that the FDA require a black-
box warning.

In 2004, Pharmaceutical manufacturer Warner-Lambert, a subsidiary of Pfizer Pharmaceuticals, agreed
to plead guilty and to pay more than $430 million to resolve criminal charges and civil liability, in
connection with the illegal and Iraudulent promotion of unapproved uses for Neurontin, Click here to
read more from the FDA.

Q: What precautions should 1 take before or while taking Neurentin.
A: Children between the ages of 3 and 12 may be sensitive to the effects of Neurontin, increasing the
‘chance of side effects during treatment. Neurontin is removed from the body more slowly in elderly
people, which can also increase the chance of unwanted effects. When taking Neurontin, it is important
“that your healthcare professional check your progress regularly, especially during the first few months
of treatment. Stopping Neurontin suddenly may cause seizures to return, or to occur more atten.
Therefore, it is important to talk to your healthcare professional about gradually reducing your dose.
Also, because Neufontin may cause vision problems, clumsiness, unsteadiness, dizziness, drowsiness,
or trouble thinking, you should make sure you know how you react to Neurontin before you drive, use
machines, or perform any activity that requires alertness, good coordination, or the ability to think and
see well. Lastly, tell your healthcare professional that you are taking Neurontin before having any
medical tests.

@: What are the side effects associated with Neurontin?

A: Tell your healthcare professional if any of the following side effects of Neurontin use are severe or
persistent: drowsiness; tiredness; weakness; dizziness; headache; uncontrolled shaking of a body part;
double or blurred vision; unsteadiness; anxiety; memory problems; strange or unusual thoughts;
unwanted eye movements; nausea; vomiting; heartburn; diarrhea; dry mouth; constipation; weight
gain; swelling of the hands feet, ankles, or lower legs; back or joint pain; fever; runny nose, sneezing,
cough, sore throat, or flu-like symptoms; ear pain; or red or itchy eyes.
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Neurontin News

August 2006: An Estimated 300 Lawsuits Filed Over Neurontin

According to a recent USA Today report, an estimated 300 lawsuits have been filed to date, alleging
that Neurontin causes suicide or suicide attempt. A first trial may take place in fall 2006. Plaintiffs
allege that Neurontin-maker Pfizer Pharmaceuticals failed to disclose the risk of suicide, and are
advocating that the FDA require a black-box warning. Pfizer has responded to the allegations, stating
that there is no scientific evidence linking Neurontin to suicide. In December 2005, Pfizer changed the
Neurontin prescribing information to include "suicide" and "suicide attempt" as infrequent adverse
events.

April 22, 2005: Neurontin Recall for Empty Bottles and Partially-Filled Capsules

Pfizer Pharmaceuticals and the FDA notified healthcare professionals of the voluntary recall of 40,000
bottles (1 lot) of 100 mg capsules of Neurontin. A mechanical error in manufacturing resulted in some
bottles containing empty or partially filled capsules. 100 mg strength capsules from lot #15224V -
distributed in October and November, 2004 - are included in the recall. The production lot was
distributed only in the United States, and no other Neurontin lots were affected. Click here to read
more from the FDA.

_- July/August 2004: Drug Maker to Pay $430 Million in Fines, Civil Damages
Pharmaceutical manufacturer Warner-Lambert, a subsidiary of Pfizer Pharmaceuticals, agreed to plead
guilty and to pay more than $430 million to resolve criminal charges and civil liability in connection
mith the illegal and fraudulent promotion of unapproved uses for Neurontin. Click here to read more
om the FDA.

 

 

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Neurontin Off-Label Use Side Effects Lawsuits: 2007 Update Bage lof 5

AY? ‘\ Personal Injury Lawyer America.

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RECENT CASES

# AMO Lens
Solution Recall

* Pergolide Heart
Valve Dangers

+ Peanut Butter
Recalt

+ ADHD Drugs &
Child Deaths

# Rituxan and Brain
Infections

# Ortho Evra
Side Effects

+ SSRIs and Birth
Defects

# Tylenol
Liver Damage

« Guidant Defib
Failures

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at

* Auto | SUV
Accidents

* Aviation Law
# Food Poisoninas
Child Products

# Househald
Products

* Lawn & Garden
Products

+ Medical Devices

+ Power Tools

* Prescribed & Over-
the-Counter Drugs

+ Recreational \

Vehicles

* Tuna & Mercury

Poisoning
oy

* Workplace
Injuries

« All Cases

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‘Off-Label Use Side Effect Dangers & Lawsuits

In August 2005, Lieff Cabraser filed a class action lawsuit against I

f and Warner-Lambert Company (which was acquired by Pfizer in 2000) f

fraudulent scheme to market and sell the drug Neurontin for a variety of

which it is not approved, or medically efficacious.

he Lawsuit

Pfizer manufactures, markets and sells
Neurontin, a drug approved as adjunctive
therapy in the treatment of partial seizures with
and without secondary generalization in

atients with epi . Since May 2002,
Neurontin has also been approved for the
management of postherpetic neuralgia (pain
resulting | form shingles or herpes zoster) in

_adults. “The lawsuit arises out of the unlawf
marketing of the drug and Pfizer's efforts to

fave thousands of doctors prescribe the drug.
for uses for which it was neither approv
effective_

The Ailegations

Pharmaceutical companies must apply to
the United States Food and Drug Administration
(FDA) for approval to sell a new drug. When the
FDA approves a drug product, it also approves
the labeling that accompanies the drug, which
indicates the manner in which the product is to
be used. While physicians may prescribe
approved drugs as they see fit, pharmaceutical

companies are prohibit inst promati

drugs for uses outside of the appr j

co "off-label" uses.

 

 

Lieff Cabraser Heiman

Bernstein, LLP represe
personal injury and wr
actions. Click here tos

case.

 

Lieff Cabraser has par
over thirty-five $100 mi
settlements & verdicts
To read a summary, c!

According to the lawsuit, Pfizer disregarded the laws and regulatioi
governing the promotion and marketing of drugs for off-label uses. Pfize
created and implemented a fraudulent marketing and sales scheme, usi
physicians and intermediary marketing firms, that dramatically boosted s
Neurontin and allowed them to reap unlawful and unfair profits at the ex,
healthcare insurers, physicians, consumers and others.

Contact Us
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“~~~ Dangerous Drugs - Finkelstein & Partners - 1-800-LAW-AMPM Page 1 of 8

   
 
 
 
 
 
 
  

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exclusive in our are
“concentration. —

 

 

         
 

 

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’ Neurontin
: In the mid-1990s, the FDA approved the sale of Neurontin for treating epilepsy. However, it is laddress me as
. estimated that about 80% of users tum to the drug not to curb seizures but to treat other [phone SS
’ conditions for which it is NOT approved, including: bipolar disorder, neuropathy, attention deficit
‘~-augeem disorder (ADD), restless leg sydrome, migraines, neuralgia, and drug and alcohol withdrawal femail

seizures. lts maker, formerly called Parke-Davis but now a division of pharmaceutical giant Pfizer,
4, _ is believed to have marketed the drug for these unapproved uses. The problem with this is thatitis
‘, bot i itis also d Neurontin suicidal t icidal ideati
\ anxiety, hostility, paranoia and psychosis. We are currently investigating the relationship between
Neurontin and suites:

message

 

The. drug and.Pfizer's allegedly illegal activity are currently under investigation. For more
information about Neurontin or if you or a loved one has been harmed by this drug, please contact

 

us.
Request To FDA To Investigate Plea Objection
FDA Response Reply To FDA Response

PRACTICE ageas

Back to top
Fen-Phen . * Personal Injury
Fenfluramine and dexfenfluramine were two popular diet drugs prior to their 1997 recall. Marketed > Head injuries
as Pondimin and Redux respectively, the drugs were often used in combination with another drug, ; One Be
phentermine. (n all, Fen-Phen, was used by more than 6 million Americans for weight loss. > ATY Accidents
> Defective Tires

Unfortunately, in 1997 Fen-Phen was linked to cases of heart valve disease and primary > Motorcycle Accidents
pulmonary hypertension (PPH) — both of which can be life-threatening conditions. Heart valve > Trucking Accidents
disease Causes damage to the valves in the heart that control blood flow to the body. The > Construction Accident
condition causes the vaives to regurgitate blood, which strains the heart. Over 100 cases of heart > Railroad Accidents

 

valve disease had been reported to the Food and Drug Administration at the time of Fen-Phen's > FELLA.
